Case 9:18-cr-80109-RLR Document 15 Entered on FLSD Docket 05/23/2018 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 18-8211-MATTHEWMAN


  UNITED STATES OF AMERICA,

              Plaintiff,

  vs.

  JOHN JOSEPH O’GRADY,

              Defendant.
  ____________________________

            UNOPPOSED MOTION TO CONTINUE ARRAIGNMENT

        Defendant, John O’Grady, through undersigned counsel, requests the Court to

  continue the arraignment in the above-styled cause for fourteen days (14) days. As

  grounds therefor, Defendant states:

        1. Defendant is currently scheduled to be arraigned on Thursday, May 24,

           2018.

        2. A grand jury is currently unavailable. To allow the government adequate

           time to obtain an indictment, and to allow Defendant adequate time to

           consult with counsel prior to arraignment, it is requested that the

           arraignment be reset to Thursday, June 7, 2018, or as soon thereafter as is

           convenient for the Court.

        3. Defendant agrees that speedy trial be tolled from the present date until the

           rescheduled date of his arraignment.


                                           1
Case 9:18-cr-80109-RLR Document 15 Entered on FLSD Docket 05/23/2018 Page 2 of 3



        4. Undersigned counsel has contacted Assistant United States Attorney John

           McMillan who agrees with the above-styled motion.

        WHEREFORE, it is respectfully requested that the Court grant the

  above-styled motion.


                                      Respectfully submitted,

                                      MICHAEL CARUSO
                                      Federal Public Defender

                                      s/ Peter Birch
                                      Peter Birch
                                      Assistant Federal Public Defender
                                      Attorney for the Defendant
                                      Florida Bar No. 304281
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                                         2
Case 9:18-cr-80109-RLR Document 15 Entered on FLSD Docket 05/23/2018 Page 3 of 3



                              CERTIFICATE OF SERVICE


        I HEREBY certify that on May 23, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.


                                         s/ Peter Birch
                                         Peter Birch




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